Case 2:05-cr-20304-SF||\/| Document 10 Filed 08/24/05 Page 1 of 2 Page|D 7

IN THE UNITED s'rATEs DISTRICT coURT Fi‘~"~":l-"* i~“"`" %’L/"C
FoR THE WESTERN DIsTRIcT oF TENNESSEE

 

 

   
   

WEsTERN DIVIsIoN 95 AUG 21» AH 8= 07
UNITED sTATEs oF AMERICA C'FL; ' … ”IP§|(SJUFH
V.
coMFoR'r ANDERsoN 05“20304_Ma

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard ong/gmi 2,} ZAALS` the United States Attorney
for this district appeared on behalf of the govei=rlinent, and the defendant appeared in person and with

counsel:
NAM&L!@EL@( who is Retained/Appointed.
__- M

The defendant, through counsel, waived formal arraignment and entered a.plea of not guilty.

 

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.s. Marshal. _U_:K
v"___”__`___

UNIT"ED sTATEs MAGISTRATE JUDGE

 

CHARGES -31:5332
BULK CASH SMUGGLING INTO OR OUT OF THE UNITED STATES

Attorney assigned to Case: S. Parker

Age: 6
Thls document entered on the docket atl c pli s
with Rnls 55 and/or 321b) FFICrP on '

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20304 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Honorable Sarnuel Mays
US DISTRICT COURT

